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                     Exhibit 13
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                           ACCOUNTING PRINCIPLES

1. Variable Profit Definition
Ex. 4C defines Variable Profit as a calculation:

 “This is calculated for both the Benchmark Period and the Compensation Period
as follows: 1. Sum the monthly revenue over the period. 2. Subtract the
corresponding variable expenses from revenue over the same time period.” p. 2

Accounting Literature definition of “variable profit”:

“The contribution of a given segment of sales to cover fixed costs and provide a
profit is known by various names as marginal income, variable profit or
contribution margin. It is obtained by deducting from sales revenue for a
particular segment of the business the variable costs that relate to that revenue.”
Manash Dutta, Cost Accounting: Principles and Practice, Pearson, 2003. P. 15.4
(emphasis added).

Variable Profit cannot be calculated from cash basis financial statements when
revenues and expenses are mismatched:
“Thus, a major difference between accrual accounting and accounting based on
cash receipts and outlays is timing of recognition of revenues, expenses, gains, and
losses. A report showing cash receipts and cash outlays of an enterprise for a
short period cannot indicate how much of the cash received is return of
investment and how much is return on investment and thus cannot indicate
whether or to what extent an enterprise is successful or unsuccessful.” FASB
CON 6, Recognition, Matching , and Allocation, p. 6-35 (emphasis added).

“The result of ‘matching’ the revenues with the expenses incurred to create the
revenues is a much more realistic reflection of net income for the period.” Farm
Financial Standards Council (FFSC), Financial Guidelines for Agricultural
Producers, Appendix E p. E1 (emphasis added).

“Cash basis accounting can also delay recognition of profits during periods of
business growth and recovery. Such delay in recognizing profitability problems is
due to the length of the business’s cash conversion cycle, i.e., the time from the
start of the production process until cash is finally received from the sale of the
output.” Farm Financial Standards Council (FFSC), Financial Guidelines for
Agricultural Producers, Appendix E p. E1 (emphasis added).
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2. BEL Framework requires identifying when revenue is “earned.”

Ex. 4C BEL requires:

-- identifying “actual profit” compared to “the profit the claimant might have
expected to earn in the comparable post-spill period of 2010.”

-- determining Variable Profit by “sum the monthly revenue over the period.”

Cash basis accounting focuses on timing of cash payments rather than when
revenue is earned:

“However , a few firms for various reasons, prepare their financial statements on
the accrual basis because it presents a more realistic (economic) picture of the firm
for the reporting period. Generally accepted accounting principles (GAAP) are
predicated on the accrual basis of accounting. Accrual accounting recognizes
revenue and the related assets when earned rather than when received and
recognizes expenses when the obligation is incurred rather than when paid.”
PriceWaterhouseCoopers (“PwC”), Law Firm Accounting and Financial
Management, Fifth Edition, 2012 (distinguishing cash vs. accrual basis of
accounting) 1.04 Accrual Basis vs. Cash Basis. P. 1-5 (emphasis added).

“The modified cash basis policy followed by the partnership differs from
generally accepted accounting principles because: (1) fees for professional time
and other services are recorded as revenues when received rather than when
earned; (2) leasehold improvements are amortized over tax lives, which are longer
than economic lives; and (3) expenses are recorded when paid rather than when
incurred.” PriceWaterhouseCoopers (“PwC”), Law Firm Accounting and
Financial Management, Fifth Edition, 2012 (distinguishing cash vs. accrual basis
of accounting) P. 2-10 (emphasis added).




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3. The BEL requirement to subtract “corresponding variable expenses” from
“revenue over the period” is consistent with fundamental accounting
principles.
This BEL requirement is consistent with the widely accepted accounting principle
which “dictates that efforts (expenses) be matched with accomplishment
(revenues) whenever it is reasonable and practicable to do so.” Intermediate
Accounting, Tenth Edition, Kieso, Weygandt, and Warfield, p. 46.

“Matching of costs and revenues is simultaneous or combined recognition of the
revenues and expenses that result directly and jointly from the same transactions
or other events.” FASB CON 6, “Recognition, Matching and Allocation,” p. 6-35
(emphasis added).

“The result of ‘matching’ the revenues with the expenses incurred to create the
revenues is a much more realistic reflection of net income for the period.” Farm
Financial Standards Council (FFSC), Financial Guidelines for Agricultural
Producers, Appendix E p. E1.




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